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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                            MIAMI DIVISION
                      CASE NO. 06-20635-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  YOLEPSYS CAPEANS,

                Defendant.
  _________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge John O’Sullivan,
  on December 7, 2006. A Report and Recommendation filed on
  December 11, 2006 recommended that the Defendant’s plea of guilty
  be accepted. The Defendant and the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however, none were filed. The Court has conducted a de novo
  review of the entire file. Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge John O’Sullivan, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Count One of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 18th
  day of January, 2007.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge John O’Sullivan
          Michele Korver, AUSA
          Joaquin G. Perez, Esq.
